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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                          February 16, 2016
                             UNITED STATES DISTRICT COURT
                                                                                          David J. Bradley, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

RUBEN GARCIA,                                      §
                                                   §
             Plaintiff,                            §
VS.                                                § CIVIL ACTION NO. 7:15-CV-136
                                                   §
ALLSTATE TEXAS LLOYDS,                             §
                                                   §
             Defendant.                            §

                                              ORDER

           The Court now considers the “Agreed Stipulation of Dismissal with Prejudice,”1 filed by
Ruben Garcia (“Plaintiff”) and Allstate Texas Lloyds (“Defendant”) announcing to the Court that
the parties agree to Plaintiff dismissing his claims against Defendant. Pursuant to Federal Rule of
Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendant may dismiss an action without a court
order by filing a stipulation of dismissal signed by all parties. Since the stipulation of dismissal is
signed by both Plaintiff and Defendant, the only parties in the case, the parties have effectively
dismissed the case and no further action by this Court is necessary. Thus, the Clerk of the Court
is instructed to close the case. Accordingly, the Court CANCELS the show cause hearing
scheduled for February 23, 2016.

           IT IS SO ORDERED.
           DONE at McAllen, Texas, this 16th day of February, 2016.


                                                   ___________________________________
                                                   Micaela Alvarez
                                                   United States District Judge




1
    Dkt. No. 9.

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